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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


STEVEN WAYNE FISH, et al.,                  )
                                            )
       Plaintiffs,                          )
                                            )
v.                                          )        Case No. 16-2105-JAR-JPO
                                            )
KRIS KOBACH, in his official capacity as )
Secretary of State for the State of Kansas, )
                                            )
       Defendant.                           )
___________________________________ )

  DEFENDANT SECRETARY OF STATE’S DESIGNATION OF EXPERT WITNESS

       Pursuant to Federal Rule of Civil Procedure 26(a)(2)(A) and to the Court’s November 3,

2016 Amended Scheduling Order, (Case No. 16-2105, ECF No. 258): Defendant Secretary of State

designate the following individual as a rebuttal expert witness:

Dr. Jesse T. Richman
Old Dominion University
Political Science and Geography Department
BAL 7000
Norfolk, VA 23529

                                            /s/ Garrett R. Roe
                                            Garrett R. Roe, #26867
                                            Kris W. Kobach, #17280
                                            OFFICE OF THE SECRETARY OF STATE
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                                            Attorneys for Defendant Kobach




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                       CERTIFICATE OF SERVICE OF DISCOVERY

        I, the undersigned, hereby certify that, on the 12th day of April, 2017, I served the

foregoing Defendant’s Designation of Expert Witnesses upon all counsel of record by electronic

mail.


                                            s/ GARRETT ROE
                                            Garrett Roe, Bar No. 26867
                                            Attorney for Defendant Kobach




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